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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    RAEF LAWSON,                                        Case No.15-cv-05128-JSC
                                                       Plaintiff,
                                   8
                                                                                            OPINION
                                                v.
                                   9

                                  10    GRUBHUB, INC., et al.,
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Raef Lawson worked as a restaurant delivery driver for Grubhub in Southern California for

                                  14   four months in late 2015 and early 2016. He complains that Grubhub improperly classified him as

                                  15   an independent contractor rather than an employee under California law and in doing so violated

                                  16   California’s minimum wage, overtime and employee expense reimbursement laws. He brings his

                                  17   claims in his individual capacity and as a representative action pursuant to the California Private

                                  18   Attorney General Act (PAGA). The critical question is whether under California’s common law

                                  19   Borello test, Mr. Lawson was an employee or an independent contractor. After considering all of

                                  20   the Borello factors as a whole in light of the trial record, the Court finds that Grubhub has satisfied

                                  21   its burden of showing that Mr. Lawson was properly classified as an independent contractor.

                                  22   While some factors weigh in favor of an employment relationship, Grubhub’s lack of all necessary

                                  23   control over Mr. Lawson’s work, including how he performed deliveries and even whether or for

                                  24   how long, along with other factors persuade the Court that the contractor classification was

                                  25   appropriate for Mr. Lawson during his brief tenure with Grubhub.

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                                   1                                      PROCEDURAL HISTORY

                                   2          This lawsuit began when San Francisco Grubhub driver Andrew Tan filed a putative wage

                                   3   and hour class action in a California state court. Grubhub subsequently removed the action to this

                                   4   Court pursuant to the Class Action Fairness Act. Shortly thereafter, Mr. Tan filed a First

                                   5   Amended Complaint that added Raef Lawson as a plaintiff and the proposed class representative,

                                   6   and as a co-plaintiff on the PAGA claim. Mr. Tan was only a plaintiff on the PAGA claim and no

                                   7   longer sought to represent a Rule 23 class. Following a ruling on Grubhub’s motion to dismiss,

                                   8   Plaintiffs filed a Second Amended Complaint with the same claims.

                                   9          Grubhub then moved to deny class action status. It argued that its delivery services

                                  10   provider contract contained an arbitration agreement with a class action waiver during the

                                  11   proposed class period. While the arbitration agreement allowed a driver to opt out, Mr. Lawson

                                  12   was one of only two California drivers during the relevant period to have done so; accordingly, the
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                                  13   Court granted the motion to deny class action status. In particular, the Court held that Mr. Lawson

                                  14   was not a typical nor adequate class representative for the delivery workers who had not opted out.

                                  15   (Dkt. No. 65.) 1

                                  16          Following that ruling, the parties agreed that this lawsuit would be prosecuted solely by

                                  17   Mr. Lawson on behalf of himself and as a PAGA representative. (Dkt. Nos. 70 at 4 n.1, 78.) The

                                  18   parties subsequently stipulated to a bench trial, and to bifurcating the case into two phases: (1)

                                  19   phase one limited to Mr. Lawson’s individual claims and whether he is an “aggrieved employee”

                                  20   under PAGA, and (2) assuming the Court finds he is an aggrieved employee, phase two would

                                  21   resolve the PAGA claim following additional discovery. (Dkt. Nos. 97, 122.)

                                  22          The Court held a bench trial in September 2017 and following the parties’ submission of

                                  23   proposed findings of fact and conclusions of law, heard closing arguments on October 30, 2017.

                                  24   This Opinion constitutes the Court’s findings of fact and conclusions of law required by Federal

                                  25   Rule of Civil Procedure 52(a).

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                                  28    Record citations are to material in the Electronic Case File (“ECF”); pinpoint citations are to the
                                       ECF-generated page numbers at the top of the documents.
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                                   1                                             JURISDICTION

                                   2           This Court has subject matter jurisdiction pursuant to the Class Action Fairness Act

                                   3   (CAFA), 28 U.S.C. § 1332(d)(2). The complaint Grubhub removed to federal court satisfied

                                   4   CAFA’s jurisdictional requirements: diversity, numerosity and the amount in controversy. (Dkt.

                                   5   No. 1.) The Court’s subsequent denial of class action status did not divest it of subject matter

                                   6   jurisdiction. United Steel, Paper & Forestry, Rubber, Mfg., Energy, Allied Indus. & Serv.

                                   7   Workers Int’l Union v. Shell Oil Co., 602 F.3d 1087, 1092 (9th Cir. 2010). Further, the parties

                                   8   have consented to the jurisdiction of a magistrate judge. (Dkt. Nos. 13, 14, 30, 33.)

                                   9                                         FACTUAL FINDINGS

                                  10   A.      The Parties

                                  11           Grubhub is an internet food ordering service that connects diners to local restaurants. The

                                  12   company was founded in 2004 as an online platform where diners could order food from local
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                                  13   restaurants. Grubhub began offering food delivery in select markets in 2014. Customers order

                                  14   food through Grubhub’s online platform and Grubhub transmits the orders to restaurants. The food

                                  15   is then delivered either by a restaurant delivery person or a Grubhub driver. Diners may also pick

                                  16   up their own meals ordered through Grubhub.

                                  17           Grubhub operates in 1,200 markets in the United States. Of those markets, 250 are in

                                  18   California and of those Grubhub offers its own delivery services in five. As of June 2016, there

                                  19   were 4,000 Grubhub delivery drivers in California. Delivery is a growing part of Grubhub’s

                                  20   business; indeed, it was aggressively growing its delivery business in 2015. By providing delivery

                                  21   services, Grubhub increases the number of restaurants it can offer to diners on its online platform.

                                  22   In the five California markets where Grubhub offers delivery services, the majority of Grubhub’s

                                  23   diners have their meals delivered by the restaurants. For the remaining customers, Grubhub

                                  24   delivers meals more than the customers pick up the food themselves. The percentage of Grubhub-

                                  25   provided deliveries is growing.

                                  26           Plaintiff Rael Lawson lives in Inglewood, California, a neighborhood in Los Angeles. At

                                  27   all times relevant to this lawsuit, he was an aspiring actor, writer, producer and director. In

                                  28   August 2015, Mr. Lawson completed an online application to make food deliveries for Grubhub
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                                   1   and submitted the required documents: a driver’s license, vehicle registration, and vehicle

                                   2   insurance. Mr. Lawson performed food deliveries for Grubhub over a four month period: from

                                   3   October 25, 2015 through February 14, 2016. Prior to performing Grubhub food deliveries, Mr.

                                   4   Lawson worked for other so-called “gig economy” companies, including Lyft, Uber, Postmates,

                                   5   and Caviar. He drove for these companies, including Grubhub, because the flexible scheduling

                                   6   allowed him to pursue his acting career. Mr. Lawson continued to deliver food for Postmates and

                                   7   Caviar during the four months he was delivering for Grubhub.

                                   8   B.      The Grubhub Delivery Services Provider Contract

                                   9           1.      The Initial Contract

                                  10           Mr. Lawson executed a “Delivery Service Provider Agreement” with Grubhub on August

                                  11   28, 2015. The Agreement includes the following terms, among others:

                                  12           •    Relationship of Parties: The “Primary Delivery Service Provider” (Mr. Lawson) is
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                                  13                engaged in the “independent business of providing delivery services.” (Trial Ex. 1 ¶

                                  14                2.1.) The parties intend the agreement to create the relationship of principal and

                                  15                independent contractor, not employer and employee. (Trial Ex. 1 ¶ 7.1.) The driver 2

                                  16                acknowledges that if at any time he believes his relationship with Grubhub is

                                  17                something other than an independent contractor relationship, the driver will

                                  18                immediately notify Grubhub of this view. (Trial Ex. 1 ¶ 7.2.)

                                  19           •    Performing Services for Others: The driver is not precluded from doing business

                                  20                with others and Grubhub does not have the right to restrict the driver from being

                                  21                concurrently or subsequently engaged in performing delivery services for other

                                  22                companies, even those that compete with Grubhub. (Trial Ex. 1 ¶ 2.4.)

                                  23           •    Availability: There is no specific minimum period of time for which the driver must

                                  24                make himself available. Each day the driver makes himself available is treated as a

                                  25                separate contractual engagement. The driver has complete discretion to select the dates

                                  26                he is available to perform the delivery services and has no obligation to make himself

                                  27
                                       2
                                  28    While a delivery service provider could use a bicycle rather than a vehicle, because Mr. Lawson
                                       used a car for deliveries this Opinion will refer to the delivery services provider as the “driver.”
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                                   1          available on any particular date. However, once the driver agrees to an engagement,

                                   2          the driver is contractually bound to fully perform the engagement on the specified date.

                                   3          (Trial Ex. 1 ¶ 3.1.)

                                   4      •   Contractors: The driver may use contractors or subcontractors to perform the delivery

                                   5          services. In such cases the service fee is still paid to the contracted driver who has the

                                   6          sole responsibility of setting the terms of his payments to any contractors or

                                   7          subcontractors. (Trial Ex. 1 ¶ 3.2.)

                                   8      •   Service Level Agreement: The driver agrees to comply with Appendix A, the

                                   9          “Service Level Agreement,” which requires that the driver: (1) download the necessary

                                  10          tools to fulfill orders, (2) sign up for weekly blocks either through the Grubhub driver

                                  11          app or other means, (3) provide a status update to a dispatcher that the driver is “on

                                  12          call” when a delivery block starts, (4) not reject incoming orders or be otherwise
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                                  13          unavailable to receive incoming orders during any scheduled delivery block with

                                  14          exceptions for “extenuating circumstances” if the driver timely communicates such

                                  15          circumstances to a dispatcher, (5) provide status updates upon arrival at a restaurant,

                                  16          after receiving the food, and leaving the restaurant for delivery, (6) communicate with

                                  17          the care team or a dispatcher if there are diner issues, and (7) have no more than one

                                  18          moving violation in 24 months and no involvement in any at fault accidents. Failure to

                                  19          comply with this provision constitutes a material breach. (Trial Ex. 1 ¶ 3.3; Appendix

                                  20          A Service Level Agreement.)

                                  21      •   Delivery Service Failure: If the driver fails to fully perform a delivery he is

                                  22          contractually bound to perform, fails to follow order instructions, or fails to abide by

                                  23          the Service Level Agreement, the driver forfeits the agreed upon service fee for the job

                                  24          to the extent the driver is responsible for the failure. (Trial Ex. 1 ¶ 4.1.)

                                  25      •   Equipment: The driver must provide Grubhub a description of his vehicle (or

                                  26          bicycle). (Trial Ex. 1 ¶ 5.1.) The driver is not required to purchase, lease, or rent any

                                  27          equipment from Grubhub; however, the driver is required to use and maintain a

                                  28          smartphone at his own expense and equipment sufficient to insulate food orders during
                                                                                      5
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                                   1          delivery. (Trial Ex. 1 ¶ 5.2.) The driver may (1) lease insulated delivery bags from

                                   2          Grubhub in exchange for wearing Grubhub t-shirts and hats, (2) lease bags from

                                   3          Grubhub for $5 per month, or (3) purchase two food bags, one pizza bag, and one

                                   4          gelato bag. (Service Fees and Equipment Appendix.) The driver is also responsible

                                   5          for all costs and expenses arising from his performance of the delivery services

                                   6          including costs related to equipment. (Trial Ex. 1 ¶ 5.4.)

                                   7      •   Service Fees: Drivers are paid according to the Service Fees and Equipment Index

                                   8          which states that service fees consists of $4.25 per fulfilled delivery plus $0.50 per

                                   9          mile between the restaurant and the diner. Drivers are entitled to bonuses if they are

                                  10          available to receive orders for each scheduled block, worked at least 20 hours in one

                                  11          week, and had an acceptance rate of offered deliveries in the “top 15th percentile” of

                                  12          all eligible drivers in that particular market. Such bonuses are made at $2.50 per hour
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                                  13          of completed work that week, up to a maximum of $100. Drivers are guaranteed a

                                  14          minimum average payment of $15 per hour, including gratuities, if they accept and

                                  15          fulfill 75% of orders received and are available to receive incoming orders during the

                                  16          entirety of each scheduled delivery block (with exceptions for “extenuating

                                  17          circumstances”). Nothing in the agreement prevents the driver from negotiating a

                                  18          different service fee for any given engagement; however, the service fee for subsequent

                                  19          engagements reverts to the amounts set out in the appendix. (Trial Ex. 1 ¶ 8.1, Service

                                  20          Fees and Equipment Appendix.)

                                  21      •   Term: The Agreement remains in effect for 60 days, after which it continues to

                                  22          automatically renew for additional 60-day periods. (Trial Ex. 1 ¶ 13.1.) The parties

                                  23          acknowledge the Agreement does not reflect an “uninterrupted service arrangement,”

                                  24          as the Agreement guarantees the driver’s right to choose when to make himself

                                  25          available and each engagement is treated as a separate service arrangement. (Trial Ex.

                                  26          1 ¶ 13.2.)

                                  27      •   Termination Provision: The parties have a mutual right to terminate the Agreement.

                                  28          Each could do so immediately upon written notice to the breaching party, with such
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                                   1                notice identifying the breach. Or, each could do so without cause with 14 days prior

                                   2                written notice. (Trial Ex. 1 ¶¶ 13.1.1, 13.1.2.)

                                   3           2.      The Amendment

                                   4           The Agreement Mr. Lawson signed in August 2015 was amended by Grubhub on

                                   5   December 5, 2015. Mr. Lawson agreed to the amendments in writing. Section 8.1, discussing

                                   6   fees, was deleted in its entirety and replaced with language stating that drivers will be offered a

                                   7   service fee for each proposed engagement and shall accept fee offers by email or through the app.

                                   8   (Trial Ex. 2. at 2-3.) Drivers have the opportunity to accept or reject the fee offer. (Trial Ex. 2. at

                                   9   3.) If the driver accepts the fee offer, then the driver agrees to perform the delivery services for

                                  10   that particular engagement. (Trial Ex. 2. at 3.) Further, the section entitled “Service Fees” in the

                                  11   Service Fees and Equipment Index was deleted in its entirety. Only the “Equipment” section

                                  12   remained and the title of the document changed to “Equipment Index.” (Trial Ex. 2. at 3.)
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                                  13           The Service Level Agreement was also amended by removing the language that suggested

                                  14   drivers had to sign up for weekly blocks, not reject orders, and receive incoming orders during any

                                  15   scheduled delivery block with exceptions for “extenuating circumstances.” After the amendment,

                                  16   the Agreement required drivers to be located within a reasonable distance of restaurants in the area

                                  17   where the driver is contracted to work. (Trial Ex. 2 at 3.)

                                  18   C.      Mr. Lawson’s Work for Grubhub

                                  19           1.      Onboarding

                                  20           Before Mr. Lawson began working as a Grubhub driver, Grubhub did not require Mr.

                                  21   Lawson to attend any mandatory training or onboarding. Grubhub did provide Mr. Lawson with

                                  22   certain training videos; however, Grubhub does not monitor whether drivers watch the videos.

                                  23   After Mr. Lawson executed the Agreement, Mr. Lawson watched Grubhub online training videos

                                  24   which provided instruction on how to use the Grubhub driver app, the proper etiquette with

                                  25   restaurants and customers, and how drivers should be prompt with orders so customers receive

                                  26   warm food.

                                  27           When Mr. Lawson first contracted with Grubhub, Grubhub employed driver coordinators

                                  28   whose primary responsibility was driver recruitment. As part of the onboarding process, the
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                                   1   driver coordinators phone screened the delivery applicants to, among other things, ensure they had

                                   2   a proper delivery vehicle. Grubhub’s phone screening process ended in late 2015. During this

                                   3   period Grubhub also performed a background check on driver applicants, including Mr. Lawson.

                                   4   The background checks were performed by a third party and then reviewed by Grubhub.

                                   5           During the onboarding process Mr. Lawson learned the Grubhub uniform consisted of a

                                   6   Grubhub shirt and hat; however, Mr. Lawson was not required to wear the uniform. He was also

                                   7   not required to put a Grubhub sign on his car or use the Grubhub insulated food warming bag.

                                   8           2.      Scheduling

                                   9           Although Mr. Lawson signed the Grubhub Agreement in August 2015, he did not actually

                                  10   begin making deliveries until two months later, in October 2015. This delay was not unusual;

                                  11   approximately 40% of the individuals who sign up to deliver for Grubhub never perform any

                                  12   Grubhub deliveries. During these intervening two months, Grubhub did not contact Mr. Lawson.
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                                  13   Nothing happened when Mr. Lawson did not sign up for a single block.

                                  14           Once a week, Grubhub released a schedule of available shifts called “blocks” through an

                                  15   online program called “When I Work.” Drivers selected their schedules by signing up for these

                                  16   blocks on a weekly basis. Blocks were usually released on Sundays and were limited in

                                  17   availability on a first-come-first-serve basis.

                                  18           Mr. Lawson chose the blocks he wanted to work. If Mr. Lawson did not want to work, he

                                  19   did not schedule himself. No one at Grubhub assigned Mr. Lawson blocks or instructed him to

                                  20   sign up for blocks.

                                  21           Each block was for a specific amount of time and drivers were required to register for an

                                  22   entire block, not parts of it, if they chose to register for a block at all. A block generally lasted

                                  23   from two to five hours and was oriented around mealtimes. Grubhub used the block system to

                                  24   have some idea of driver supply at a given time so that Grubhub could meet the anticipated

                                  25   demand for its restaurant partners. If a driver did not want to deliver during a block he signed up

                                  26   for, he could drop it or swap it with another worker. Mr. Lawson never made a delivery for

                                  27   Grubhub except during a scheduled block.

                                  28           Mr. Lawson signed up for Grubhub blocks on 69 different days from October 2015
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                                   1   through February 2016, but he performed deliveries on only 59 of those days. He was

                                   2   compensated for self-scheduled blocks totaling approximately 35 hours in November 2015; 105 in

                                   3   December 2015; 60 in January 2016; and 43 for the first two weeks of February 2015.

                                   4          Drivers Grubhub believed were performing especially well became eligible for “priority

                                   5   scheduling.” Eligible drivers received the schedule of available blocks a day earlier than other

                                   6   drivers, affording them a better chance to register for their first choice blocks. Priority drivers

                                   7   could swap shifts only with other priority drivers. Grubhub bestowed Mr. Lawson with priority

                                   8   scheduling on one occasion: for the pay period of November 30, 2015 to December 6, 2015. That

                                   9   week, Mr. Lawson worked a total of 44.75 hours, the highest number of blocks and hours Mr.

                                  10   Lawson worked during the four months he performed delivery services for Grubhub.

                                  11          3.      Payment

                                  12          During the period Mr. Lawson delivered for Grubhub, the Agreement provided that drivers
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                                  13   would receive a per-order-delivered payment plus tips and a nominal amount for mileage to the

                                  14   customer’s home (or other specified delivery location) from the restaurant. Until December 2015,

                                  15   if Mr. Lawson accepted 75% of the orders offered to him for delivery during his self-scheduled

                                  16   block, Grubhub guaranteed him $15 per hour for that block. This was known as “true up” pay.

                                  17   After December 2015, Grubhub reduced the true up to $11 per hour for completing 85% of the

                                  18   deliveries offered during the block. Drivers had to be signed up for and working during a block to

                                  19   qualify for true up pay; drivers that toggled into the app without being scheduled for a block did

                                  20   not qualify for the guaranteed rate. Mr. Lawson’s pay statement showed how much he earned

                                  21   based on the per-delivery-fee (including tips and mileage); if the amount he received per delivery

                                  22   was less than the guaranteed hourly minimum true up rate (assuming he satisfied the 75%

                                  23   acceptance rate), then his compensation was “trued up” to the minimum hourly guarantee.

                                  24          Grubhub paid Mr. Lawson on a weekly basis by direct deposit. It nearly always paid Mr.

                                  25   Lawson the hourly true up guarantee. On one occasion Mr. Lawson was paid per delivery rather

                                  26   than the true up amount because the cumulative per delivery pay was greater than the true up

                                  27   amount. On five days when he did not qualify for the true up, and the “per delivery fee” would

                                  28   pay him below minimum wage, Mr. Lawson received the minimum wage of $9 an hour in Los
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                                   1   Angeles. Mr. Lawson was not reimbursed for expenses, although he incurred costs for gas and his

                                   2   cell phone.

                                   3          Sometimes a delivery would extend Mr. Lawson beyond the end of his block, or at least

                                   4   Mr. Lawson would indicate through the app that he had completed the delivery outside his

                                   5   scheduled block. To receive compensation beyond his scheduled block, Mr. Lawson would

                                   6   contact Grubhub and report that his pay should be adjusted. On each occasion, Grubhub adjusted

                                   7   his pay without any investigation or inquiry as to why or whether Mr. Lawson in fact made the

                                   8   delivery after the end of his scheduled block.

                                   9          Grubhub paid Mr. Lawson the guaranteed true up rate for the blocks he scheduled provided

                                  10   he toggled himself available at some point during the block. It paid him the full amount even

                                  11   when he toggled available after his block had started. For example, Mr. Lawson toggled available

                                  12   at least five minutes late for over half of the approximately 87 blocks he was scheduled to deliver
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                                  13   for Grubhub. Of those, he toggled available more than 15 minutes late 27 times, more than 30

                                  14   minutes late 19 times, and more than two and half hours late 11 times. He toggled available more

                                  15   than three hours late for eight of his 87 blocks. Even though Mr. Lawson was not available to

                                  16   receive offers for the entire period of his self-scheduled block, for each of these blocks Grubhub

                                  17   paid him the true up fee for the entire block.

                                  18          4.      Deliveries

                                  19                  i.      Geographic zones

                                  20          Grubhub released blocks for specific delivery zones. Drivers were allowed to choose

                                  21   which zone they wanted to deliver in when they first contracted with Grubhub. When Mr. Lawson

                                  22   began driving for Grubhub there were three delivery zones in the Los Angeles area. Mr. Lawson

                                  23   chose the “Los Angeles-Metro” zone which was near his home. Grubhub later added a “South

                                  24   Bay” zone and Mr. Lawson signed up for that zone at some point. At his request, however,

                                  25   Grubhub reassigned him to the Los Angeles zone near his home.

                                  26          Grubhub asked drivers to start each scheduled block in their zones and to stay near their

                                  27   zones during their block. At times Grubhub monitored whether drivers, such as Mr. Lawson, were

                                  28   in their zone at the beginning of their block. If the drivers were not in their zone, and, in response
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                                   1   to a Grubhub inquiry did not indicate that they intended to be in their zone to make deliveries,

                                   2   Grubhub would remove the driver from that scheduled block; that is, the Grubhub app would not

                                   3   send them any further delivery offers during that scheduled block.

                                   4                  ii.     Delivery offers

                                   5          Mr. Lawson moved the toggle button on the Grubhub driver app to “available” when he

                                   6   began a block. Grubhub used a computer algorithm to offer deliveries to available drivers, which

                                   7   could be overridden by operations specialists (previously called “driver dispatchers”). After the

                                   8   Grubhub driver app offered Mr. Lawson a delivery, he could either accept or reject it by hitting the

                                   9   appropriate “button” on the app. If a driver rejected an offered delivery, Grubhub did not toggle

                                  10   the driver off the app or remove the driver from his scheduled block or otherwise kick the driver

                                  11   off the system; instead, the algorithm offered the delivery to a different available driver. If a

                                  12   driver was having difficulty completing an accepted delivery; for example the driver got a flat tire,
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                                  13   an operations specialist could override the algorithm and manually make an offer to another

                                  14   driver. If there was more customer demand than available drivers, Grubhub could send a market-

                                  15   wide message asking for more drivers.

                                  16          Generally, once Mr. Lawson accepted an order he drove to the restaurant to pick it up.

                                  17   Grubhub did not require that he take a particular route to the restaurant; nor did it dictate how

                                  18   much time he had to get to the restaurant. It also did not control what he could do on his way to

                                  19   the restaurant; that is, what stops, if any, he would make along the way.

                                  20          Upon Mr. Lawson’s arrival at the restaurant, he was required to use the Grubhub driver

                                  21   app to indicate that he had arrived. Sometimes the food order took longer than expected, in which

                                  22   case Mr. Lawson would notify Grubhub, who instructed Mr. Lawson on what to do. Restaurants

                                  23   had the ability to rate drivers, but in practice only did so infrequently. Once Mr. Lawson picked

                                  24   up the correct order, he used the app to so indicate.

                                  25          Mr. Lawson would then deliver the food order to the Grubhub customer’s residence or

                                  26   other specified place of delivery. Mr. Lawson could use any route he chose, and Grubhub did not

                                  27   specify the amount of time in which he had to complete the delivery. According to Grubhub’s

                                  28   records, on several occasions Mr. Lawson did not complete the delivery, or at least did not
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                                   1   indicate on the app that he had completed the delivery, until nearly an hour after he had indicated

                                   2   through the app that he had picked up the food order from the restaurant. Grubhub did not contact

                                   3   Mr. Lawson on these occasions to discover what was taking so long. When customers had issues

                                   4   with their food order, such as a missing item or cold food, Mr. Lawson instructed the customer to

                                   5   call Grubhub’s customer care.

                                   6          Grubhub did not require Mr. Lawson to carry any customer supplies with him, such as

                                   7   condiments or napkins. Grubhub did, however, determine the delivery fee charged to the

                                   8   customers ordering food though its platform; Mr. Lawson could not and did not negotiate with

                                   9   customers about how much they paid for any delivery.

                                  10                   iii.   Mr. Lawson’s Delivery Attire

                                  11          When making deliveries Mr. Lawson usually wore the Grubhub hat and shirt, but not

                                  12   always. Grubhub did not monitor Mr. Lawson to ensure that he wore the uniform which he had
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                                  13   agreed to do in exchange for use of Grubhub’s insulated bags.

                                  14                   iv.    Mr. Lawson’s Deliveries for Grubhub’s Competitors

                                  15          Mr. Lawson also worked as a delivery driver for Postmates and Caviar, two of Grubhub’s

                                  16   food delivery competitors, during the same period he worked for Grubhub. He often accessed the

                                  17   Postmates and Caviar apps during his Grubhub blocks and sometimes made deliveries for

                                  18   Postmates and Caviar while working a scheduled Grubhub block. For example, on January 29,

                                  19   2016, Mr. Lawson scheduled himself for a 5:00 p.m. to 8:00 p.m. Grubhub block. During that

                                  20   time period he performed a delivery for Postmates and was logged in to the Caviar app during the

                                  21   entire Grubhub block. Mr. Lawson performed a delivery for Caviar or Postmates, and sometimes

                                  22   more than one delivery, during 17 of the 87 Grubhub blocks that Mr. Lawson signed up for and

                                  23   did not drop.

                                  24                   v.     Mr. Lawson Performed his own Deliveries

                                  25           Mr. Lawson never hired anyone to make his deliveries for him or help with his deliveries.

                                  26          5.       Mr. Lawson’s Gaming of the Grubhub Driver App

                                  27          When Mr. Lawson first began delivering for Grubhub, he would sometimes accept an offer

                                  28   he did not intend to deliver to maintain his acceptance rate and eligibility for the true up minimum
                                                                                        12
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                                   1   guarantee. He would then contact the Grubhub driver hotline and ask that the delivery be

                                   2   reassigned; reassignment following acceptance did not affect his acceptance rate for purposes of

                                   3   the true up. According to Mr. Lawson, “everybody did this.” But after Grubhub began counting

                                   4   driver requested reassignments against the acceptance rate for purposes of the true up, Mr. Lawson

                                   5   ceased this practice.

                                   6             Mr. Lawson then gamed the app by scheduling himself for a block and ensuring that he

                                   7   received few, if any, delivery offers so that he would receive the true up minimum guarantee for

                                   8   performing none or maybe one delivery during an entire block. He did so by (1) turning his

                                   9   cellphone on airplane mode or otherwise making his cellphone “out of network,” (2) toggling

                                  10   “available” for his self-scheduled block well after the block began, and (3) reporting through the

                                  11   app that he had completed a delivery after the end of his scheduled block. A few examples are set

                                  12   forth below.
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                                  13         •   November 26: Mr. Lawson made no deliveries during a four hour block, 6 p.m. to 10 p.m.

                                  14             He was “out of network” for much of the block. He did receive one delivery offer which

                                  15             he accepted, but Grubhub’s records do not show that he picked up the order or delivered it;

                                  16             he may have asked that it be reassigned. Because his acceptance rate was 100% he

                                  17             received the full true up amount of $60.

                                  18         •   December 31: Mr. Lawson’s four hour block began at 5:00 p.m., but he did not toggle

                                  19             available until 8:15 p.m. He received and accepted an order shortly thereafter, at around

                                  20             8:21 p.m. He picked up the order at 8:42 p.m., but did not record that he delivered the

                                  21             order until 9:14 p.m. Even though he did not toggle available until three hours after his

                                  22             block began, he was paid the full true up amount for a block of four hours and twenty

                                  23             minutes and received $47.63. 3

                                  24         •   January 8: Mr. Lawson scheduled himself for a four hour block, from 5 p.m. to 9 p.m.

                                  25             Mr. Lawson did not toggle available until 8:20 p.m., and his block ended 40 minutes later.

                                  26             Despite his unavailability for most of his block, Grubhub paid him the full $44 true up

                                  27

                                  28   3
                                           By this date Grubhub had reduced the “true up” rate to $11 per hour.
                                                                                        13
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                                   1        amount for a four hour block.

                                   2    •   January 11: Mr. Lawson’s four hour block started at 5 p.m., but Mr. Lawson did not

                                   3        toggle available until 7:57 p.m. He was offered two deliveries during the one hour of his

                                   4        block he was available. The second delivery was offered to him at 8:54 p.m. He accepted

                                   5        the offer and reported completing the delivery at 9:29 p.m. (He apparently never reported

                                   6        picking up the delivery from the restaurant). Mr. Lawson then asked Grubhub to extend

                                   7        his block an additional 30 minutes due to the delivery made after the end of his block; in

                                   8        doing so, he did not mention that he had started his block nearly three hours late. Grubhub

                                   9        paid him the true up guarantee for a 4.5 hour block.

                                  10    •   January 12: Mr. Lawson’s two hour block started at 3:00 p.m. He toggled available at

                                  11        5:00 p.m. and toggled unavailable at 5:01 p.m. and paid the full true up amount of $22.

                                  12    •   January 15: Mr. Lawson’s four hour block started at 5 p.m. but he did not toggle
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                                  13        available until 7:13 p.m. Grubhub paid him the full true up amount for the four hour

                                  14        block.

                                  15    •   January 18: Mr. Lawson scheduled himself for a four hour block, from 5 p.m. to 9 p.m.

                                  16        He did not toggle himself available until 8:05 p.m. and shortly thereafter was offered and

                                  17        accepted a delivery. His cell phone then went “out of network,” and he is not recorded as

                                  18        having picked up or completed the delivery. Grubhub paid him the true up amount for the

                                  19        full four hour block.

                                  20    •   January 29: Mr. Lawson’s four hour block started at 5 p.m. but he did not toggle

                                  21        available until 8:17 p.m. He was immediately offered a delivery which he accepted and

                                  22        delivered at the end of his block. Grubhub paid him the true up amount for the full four

                                  23        hour block.

                                  24    •   January 30: Mr. Lawson’s four hour block started at 5 p.m., but he did not toggle

                                  25        available until 8:26 p.m. He performed zero deliveries. Grubhub paid him the full true up

                                  26        amount for a four hour block.

                                  27    •   February 7: Mr. Lawson scheduled himself for a three hour block from 11:00 a.m. to

                                  28        2:00 p.m. He did not toggle himself available until one minute before the end of the block
                                                                                     14
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                                   1          at 1:59 p.m. Grubhub paid him the true up amount for the full three hour block.

                                   2          At trial, Mr. Lawson did not deny that he manipulated the driver app so that Grubhub

                                   3   would pay him as if he had worked full blocks despite not being available to make deliveries

                                   4   throughout those blocks; to the contrary, when asked whether he had learned how to game the

                                   5   Grubhub driver app, Mr. Lawson testified that he did not remember or he did not know.

                                   6          Q:      Fourteen times you performed no or one delivery and you got paid; correct?

                                   7          A:      I don’t know the exact number, but it’s around that.

                                   8          Q:      And you learned how to do that by trial and error playing around with the app; isn’t

                                   9                  that right?

                                  10          A:      I don’t remember.

                                  11          Q:      You don’t remember?

                                  12          A:      Again it looks like a lot of these are after the hourly rate cut. At that point I
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                                  13                  didn’t really care.

                                  14          Q:      So you figured out how to game the system and you didn’t care?

                                  15          A:      Like I said, I don’t really recall.

                                  16   (Dkt. No. 206 at 152:4-15.)

                                  17          When asked under oath if he had intentionally reported that he had completed a delivery

                                  18   long after the delivery had been completed and after the end of his block so that he could be paid

                                  19   more money for not working Mr. Lawson again did not deny the conduct.

                                  20          Q:      Isn’t it true, Mr. Lawson, that you were holding deliveries and you would click the

                                  21                  button long after the block had ended, even though you had completed the delivery,

                                  22                  in order to get more money out of Grubhub?

                                  23          A:      I don’t remember that.

                                  24          Q:      But you can’t say it didn’t happen?

                                  25          A:      I don’t know.

                                  26          Q:      So you’re not denying it?

                                  27          A:      I can’t do anything. I really don’t know.

                                  28   (Dkt. No. 208 at 70:4-12.)
                                                                                            15
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                                   1           6.     The Termination of Mr. Lawson’s Grubhub Contract

                                   2           On February 15, 2016, Grubhub terminated its Agreement with Mr. Lawson based on Mr.

                                   3   Lawson’s material breach of its terms. It did so by sending Mr. Lawson an email stating “you

                                   4   have not been available to receive orders and have not performed delivery services during a high

                                   5   proportion of the delivery blocks that you have signed up for. As a result of this material breach

                                   6   of Section 3.3 of your Delivery Service Provider Agreement (your “Agreement”), you are being

                                   7   notified that Grubhub is terminating your Agreement, effective immediately, in accordance with

                                   8   Section 13.1.1 of your Agreement.” (Trial Ex. 75.)

                                   9           Less than one month after Grubhub terminated its Agreement with Mr. Lawson, Postmates

                                  10   terminated its delivery contract with Mr. Lawson. Postmates advised Mr. Lawson: “It has come

                                  11   to our attention that you have been engaging in fraudulent activity on your Postmates account.

                                  12   Specifically, on more than one occasion, you have accepted delivery requests for merchants that
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                                  13   are closed or about to close, waited 30 minutes or more without moving, then informed job

                                  14   support the merchant was closed, and received a payout despite no effort on your part to complete

                                  15   the delivery. As a result, Postmates is deactivating your account. From the date of this letter

                                  16   forward we have terminated your participation in our service.” (Tr. Ex. 1430.)

                                  17   D.      Mr. Lawson’s Credibility

                                  18           Mr. Lawson’s claimed ignorance of his dishonest conduct is not credible. Mr. Lawson

                                  19   would remember if after he filed this lawsuit against Grubhub he cheated Grubhub. If he had not

                                  20   moved his smart phone to airplane mode, intentionally toggled available late, or deliberately

                                  21   engaged in other conduct to get paid for doing nothing he would have denied doing so at trial. But

                                  22   he did not.

                                  23           Other dishonest conduct during this lawsuit further supports the Court’s finding that Mr.

                                  24   Lawson intentionally manipulated the app to get paid for not working. 4 During discovery he

                                  25
                                       4
                                  26     For this reason, to the extent any of the Court’s findings contradict Mr. Lawson’s trial testimony,
                                       the Court did not find Mr. Lawson’s testimony credible. The same is true for T.J. O’ Shae’s
                                  27   testimony. While Ms. O’Shae was sincere in her testimony, the Court finds much of it not
                                       credible due to her limited first hand exposure to relevant facts. Ms. O’Shae worked only 16 shifts
                                  28   in the driver care unit before resigning from Grubhub on February 14, 2016. And she tendered her
                                       resignation after only four shifts. Further, much of what she testified to as “fact” was based on
                                                                                          16
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                                   1   produced a resume that falsely represents that he attended a Loyola Marymount University Master

                                   2   of Fine Arts program from August 2012 to May 2015, and even lists a specific grade point

                                   3   average; however, Mr. Lawson was only enrolled in the program for one year and did not

                                   4   graduate. When confronted at trial with this misrepresentation, Mr. Lawson testified that he listed

                                   5   all three years because he was “still involved in various activities” and he felt “still part of [the

                                   6   Loyola Marymount] community.” (Dkt. No. 208 at 48:13-16.) This explanation is not credible.

                                   7   He also tried to explain the misrepresentation by claiming that he had not updated the resume

                                   8   since he had started the Master of Fine Arts program, apparently suggesting that he had written

                                   9   those dates on the resume because at the time he had anticipated completing the program.

                                  10   However, other dates on the resume expose that this explanation, also given under oath, is false.

                                  11   The resume states that Mr. Lawson’s most recent employment at “QED International” began in

                                  12   June 2015; thus, Mr. Lawson must have updated the resume after he started the program in 2012
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                                  13   and his testimony that he had not was false.

                                  14           Further, in April 2017, Mr. Lawson—using an alias (Ray Lawson) and a different email

                                  15   address—applied to deliver for Grubhub. In his application he falsely represented that he had

                                  16   never before driven for Grubhub. At trial he admitted that he had lied on the application.

                                  17                                           LEGAL ANALYSIS 5

                                  18           To find in favor of Mr. Lawson on his individual California Labor Code claims and his

                                  19   PAGA claim, the Court must find that Mr. Lawson was a Grubhub employee rather than an

                                  20   independent contractor. See Ayala v. Antelope Valley Newspapers, Inc., 59 Cal.4th 522, 530

                                  21   (2014); Iskanian v. CLS Transportation Los Angeles, 59 Cal.4th 348, 380 (2014). Mr. Lawson’s

                                  22   employment status is governed by the multi-factor test set forth in S.G. Borello & Sons, Inc. v.

                                  23   Department of Industrial Relations, 48 Cal.3d 341 (1989). See Alexander v. FedEx Ground

                                  24

                                  25   assumptions she made after eavesdropping on one side of a conversation or just misremembered
                                       and was in fact demonstrably false. For example, although she never delivered for Grubhub, she
                                  26   testified that drivers had only 20 seconds to accept or reject a delivery offer on the driver app.
                                       Grubhub’s records, however, show the offers stayed available for two to three minutes before
                                  27   being withdrawn or “reaped.”
                                       5
                                         The Court’s legal analysis may contain findings of fact not included in the factual findings
                                  28   section. The Court intends all statements of fact to constitute a finding of fact regardless of what
                                       section of this Opinion they appear.
                                                                                         17
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                                   1   Package System, Inc., 765 F.3d 981, 988 (9th Cir. 2014); see also Linton v. DeSoto Cab Co., 15

                                   2   Cal.App.5th 1208, 1219 (2017) (holding that the Borello test applies to wage and expense-related

                                   3   employee issues, not just workers compensation). As Mr. Lawson performed delivery services for

                                   4   Grubhub, Grubhub bears the burden of proving that Mr. Lawson was an independent contractor

                                   5   rather than an employee. See Ruiz v. Affinity Logistics, Corp., 754 F.3d 1093, 1100 (9th Cir.

                                   6   2014); Linton, 15 Cal.App.5th at 1221.

                                   7          “‘The principle test of an employment relationship is whether the person to whom service

                                   8   is rendered has the right to control the manner and means of accomplishing the result desired.’”

                                   9   Alexander, 765 F.3d at 988 (quoting Borello, 48 Cal.3d at 350); see also Ayala, 59 Cal.4th at 532

                                  10   (“the hirer’s right to control the work is the foremost consideration in assessing whether a

                                  11   common law employer-employee relationship exists”). Courts also consider the following

                                  12   secondary factors:
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                                  13                  (a) whether the one performing services is engaged in a distinct
                                                      occupation or business; (b) the kind of occupation, with reference to
                                  14                  whether, in the locality, the work is usually done under the direction
                                                      of the principal or by a specialist without supervision; (c) the skill
                                  15                  required in the particular occupation; (d) whether the principal or the
                                                      worker supplies the instrumentalities, tools, and the place of work
                                  16                  for the person doing the work; (e) the length of time for which the
                                                      services are to be performed; (f) the method of payment, whether by
                                  17                  the time or by the job; (g) whether or not the work is a part of the
                                                      regular business of the principal; and (h) whether or not the parties
                                  18                  believe they are creating the relationship of employer-employee.
                                  19
                                       Alexander, 765 F.3d at 989 (quoting Borello, 48 Cal.3d at 351); see also Linton, 15 Cal.App.5th at
                                  20
                                       1219 (holding that the Borello secondary factors derived from the Restatement of Agency apply).
                                  21
                                       A.     Right-to-Control
                                  22
                                              1.      The Manner and Means
                                  23
                                              Grubhub’s “right to control work details is the most important or most significant
                                  24
                                       consideration.” Ruiz, 754 F.3d at 1100 (quoting Borello, 48 Cal.3d at 350) (emphasis in Ruiz).
                                  25
                                       That is, its “right to control the manner and means of accomplishing the result desired.”
                                  26
                                       Alexander, 765 F.3d at 988 (quoting Borello, at 48 Cal.3d at 350).
                                  27
                                              Grubhub exercised little control over the details of Mr. Lawson’s work during the four
                                  28
                                                                                        18
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                                   1   months he performed delivery services for Grubhub. Grubhub did not control how he made the

                                   2   deliveries—whether by car, motorcycle, scooter or bicycle. Nor did it control the condition of the

                                   3   mode of transportation Mr. Lawson chose. Grubhub never inspected or even saw a photograph of

                                   4   Mr. Lawson’s vehicle. Grubhub did ensure that Mr. Lawson’s chosen vehicle was registered and

                                   5   insured, and that he had a valid driver’s license. But given that he could not legally drive the car

                                   6   without these conditions being satisfied, Grubhub’s oversight in this respect does not weigh in

                                   7   favor of employee status. See Linton, 15 Cal.App.5th at 1223 (“A putative employer does not

                                   8   exercise any degree of control merely by imposing requirements mandated by government

                                   9   regulation”).

                                  10          Grubhub also did not control Mr. Lawson’s appearance while he was making Grubhub

                                  11   deliveries. While Mr. Lawson could wear a Grubhub shirt and hat, he was not required to do so

                                  12   and did not always do so. Mr. Lawson was not required to have any Grubhub signage on his car
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                                  13   and in fact did not have any such signage. Further, although he agreed to wear the shirt and hat in

                                  14   exchange for Grubhub providing him with insulated bags to carry the food orders, Grubhub did

                                  15   not supervise whether he or other drivers did in fact wear the hat and shirt; indeed, there is nothing

                                  16   in the record that suggests that Grubhub even knew whether drivers that took the insulated bags in

                                  17   exchange for wearing the shirt and hat in fact did so. Compare with Ruiz, 754 F.3d at 1101

                                  18   (defendant exercised control of detail of drivers’ work by requiring them to wear uniforms and

                                  19   prohibiting them from wearing earrings, displaying tattoos, or having certain facial hair);

                                  20   Alexander, 765 F.3d at 989 (employer controlled “drivers’ clothing from their hats down to their

                                  21   shoes and socks” and required drivers to be “‘clean shaven, hair neat and trimmed, [and] free of

                                  22   body odor’”).

                                  23          Grubhub did not require Mr. Lawson to undergo any particular training or orientation. He

                                  24   was not provided with a script for how to interact with restaurants or customers. He was not told

                                  25   what supplies, if any, he had to have with him, whether condiments, straws or extra napkins. No

                                  26   Grubhub employee ever performed a ride along with Mr. Lawson; indeed, no Grubhub employee

                                  27   ever met Mr. Lawson in person before this lawsuit.

                                  28          Grubhub did not control who could be with Mr. Lawson in his vehicle, or even accompany
                                                                                        19
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                                   1   him into a restaurant to pick up an order or to a customer’s door to make a delivery. While

                                   2   Grubhub did reserve the right to perform a background check on any worker to whom Mr. Lawson

                                   3   subcontracted his deliveries, Mr. Lawson’s right to subcontract his deliveries was theoretical

                                   4   rather than actual. Given the nature of the work, the pay, and how the app works, subcontracting

                                   5   was not a realistic option. However, the fact remains that Grubhub had no control over whom, if

                                   6   anyone, Mr. Lawson wanted to accompany him on his deliveries.

                                   7            Mr. Lawson, rather than Grubhub, controlled whether and when Mr. Lawson worked, and

                                   8   for how long. He contracted to drive for Grubhub in August 2015, but he did not schedule himself

                                   9   for a block until October 2015. During that intervening period Grubhub did not terminate his

                                  10   contract or even contact Mr. Lawson to inquire why he was not taking deliveries. Grubhub did not

                                  11   require Mr. Lawson to work a minimum number of blocks nor was there a maximum number of

                                  12   blocks; Mr. Lawson was not required to sign up for any particular number of blocks, or any blocks
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                                  13   at all. If Mr. Lawson did not want to perform any deliveries for a particular week or month

                                  14   because he was busy with his acting career or simply preferred to do something else, Grubhub did

                                  15   not require him to sign up for any blocks. In sum, Grubhub had no control over what blocks, if

                                  16   any, Mr. Lawson chose to work. See Hennighan v. Insphere Ins. Sols., Inc., 38 F. Supp. 3d 1083,

                                  17   1100 (N.D. Cal. 2014) (“An individual who determines his own hours and break times ‘on most

                                  18   days’ exercises ‘meaningful discretion.’”) (citation omitted), aff’d, 650 F. App’x 500 (9th Cir.

                                  19   2016).

                                  20            Mr. Lawson could decide not to work a block he signed up for right up to the time the

                                  21   block started. Mr. Lawson even had the right to reject any order offered during his scheduled

                                  22   block; in other words, he had no obligation to perform any delivery offered to him by Grubhub

                                  23   even though he had signed up to work a particular block. Indeed, the Grubhub driver app had a

                                  24   reject button the entire time Mr. Lawson performed deliveries for Grubhub.

                                  25            Before the December 5, 2015 amendment to the Agreement, if Mr. Lawson signed up for a

                                  26   block, the Agreement stated that he should perform all deliveries offered to him during his block

                                  27   unless he had “extenuating circumstances.” The Agreement nonetheless contemplated that he

                                  28   would not accept all deliveries offered to him given that he would receive the true up guarantee by
                                                                                        20
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                                   1   accepting and delivering 75% of the delivery offers (excluding extenuating circumstances). And

                                   2   he was never forced to accept a particular delivery offer during his scheduled blocks.

                                   3           Thus, at bottom, Mr. Lawson had complete control of his work schedule: Grubhub could

                                   4   not make him work and could not count on him to work. Even when he signed up for a block he

                                   5   could cancel his engagement right up to the block start. Grubhub’s right to terminate Mr.

                                   6   Lawson’s Agreement for a material breach, for example, scheduling himself for blocks and then

                                   7   not making himself available for deliveries without cancelling his commitment, is not inconsistent

                                   8   with an independent contractor relationship. Even an independent contractor must perform the

                                   9   work he contracted to perform. The right to terminate the Agreement in these circumstances is not

                                  10   controlling the means and manner of how Mr. Lawson performed deliveries; it is merely the right

                                  11   to terminate the agreement if one party does not do what he contracted to do. If the landscaper

                                  12   Grubhub hired to maintain its headquarters never shows up when she says she will, Grubhub’s
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                                  13   right to cancel its contract with the landscaper does not transform the relationship into one of

                                  14   employer/employee. Such a right is control over the result rather than control over the manner and

                                  15   means of the work. See Millsap v. Fed. Express Corp., 227 Cal. App. 3d 425, 431 (1991) (“If

                                  16   control may be exercised only as to the result of the work and not the means by which it is

                                  17   accomplished, an independent contractor relationship is established”) (internal quotation marks

                                  18   and citation omitted); see also Alexander, 765 F.3d at 990 (control over results in the delivery

                                  19   context means the “timely and professional delivery of packages”).

                                  20          Grubhub also did not control how and when Mr. Lawson delivered the restaurant orders he

                                  21   chose to accept. The Agreement did not specify an amount of time in which a driver had to reach

                                  22   a restaurant to pick up an order; nor did it specify how quickly the driver had to complete the

                                  23   delivery. Mr. Lawson picked his own route; indeed, he could make as many stops as he desired

                                  24   and even make a delivery for another company while delivering for Grubhub, and on many

                                  25   occasions he made deliveries for Grubhub’s restaurant delivery competitors while working a

                                  26   Grubhub scheduled block. While Grubhub might contact a driver to ask how long before a

                                  27   delivery would be made in response to a customer inquiry, the Agreement did not require

                                  28   deliveries be made within any set amount of time, and Grubhub never told Mr. Lawson a delivery
                                                                                        21
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                                   1   had to be made in a particular amount of time. While there is evidence that Grubhub terminated

                                   2   its delivery contract with a couple of drivers for routinely taking well more than an hour to make

                                   3   deliveries, such control is control over the result: “timely and professional delivery” of restaurant

                                   4   meals. See Alexander, 765 F.3d at 990.

                                   5           Further, if Mr. Lawson reported that he completed a delivery after the end of his scheduled

                                   6   block, he requested that his pay be adjusted to reflect the longer hours. Grubhub modified his pay

                                   7   accordingly without any investigation or supervision into whether Mr. Lawson made the delivery

                                   8   when recorded or whether he could have completed the delivery in less time. This lack of

                                   9   oversight further evidences Grubhub’s lack of control of the manner and means of Mr. Lawson’s

                                  10   work.

                                  11           Grubhub also did not prepare performance evaluations of Mr. Lawson. While for a time

                                  12   drivers whom Grubhub in its sole discretion determined were its top performers were offered
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                                  13   priority scheduling, failing to qualify as a top performer did not jeopardize Mr. Lawson’s contract

                                  14   with Grubhub. No one at Grubhub was Mr. Lawson’s boss or supervisor.

                                  15           Mr. Lawson’s gaming of the Grubhub driver app further illustrates how little control

                                  16   Grubhub had over the details of Mr. Lawson’s work. For weeks, if not months, Mr. Lawson was

                                  17   able to perform little to no deliveries and yet get compensated as if he had been available for entire

                                  18   blocks—and sometimes even past his scheduled blocks—because Grubhub was not supervising

                                  19   his performance. Mr. Lawson’s dishonesty eventually led to Grubhub’s termination of his

                                  20   Agreement for cause, but this does not mean that Grubhub had the right to control the details of

                                  21   his work. As explained above, a hirer must have the right to terminate an agreement with an

                                  22   independent contractor if the contractor is not performing the work he contracted to do and is in

                                  23   fact cheating the hirer.

                                  24           Grubhub did control some aspects of Mr. Lawson’s work. Grubhub determined the rates

                                  25   Mr. Lawson would be paid and the fee customers would pay for delivery services. While the

                                  26   Agreement states that a driver may negotiate his own rate, this right is hypothetical rather than

                                  27   real. The Court finds that Mr. Lawson could not negotiate his pay in any meaningful way and

                                  28   therefore this fact weighs in favor of an employment relationship.
                                                                                         22
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                                   1          Grubhub also determined which blocks to make available for driver selection and the

                                   2   length of each block. By providing a schedule of available blocks, however, Grubhub did not

                                   3   control the manner or means of Mr. Lawson’s work. Grubhub did not make Mr. Lawson work a

                                   4   certain schedule or control Mr. Lawson’s hours – there was no minimum or maximum number of

                                   5   blocks a driver could or must sign up for.

                                   6          Grubhub determined the geographic boundaries of the delivery zones and required Mr.

                                   7   Lawson and other drivers to stay in or around their delivery zone during their scheduled blocks.

                                   8   But this control was also not over the manner and means of Mr. Lawson’s work; it was instead to

                                   9   control the result of the work, that is, to ensure that diners received their meals in a timely fashion.

                                  10   See Alexander, 765 F.3d at 990. And, in any event, Mr. Lawson decided in what delivery zone he

                                  11   wanted to work and whether on any given day for any available block he wanted to work for

                                  12   Grubhub at all.
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                                  13          2.      Termination at Will

                                  14          The fact that arguably most suggests Grubhub had a right to control Mr. Lawson’s work is

                                  15   its right to terminate the Agreement at will, albeit with 14 days’ notice. See Ayala, 59 Cal. 4th at

                                  16   531 (“Perhaps the strongest evidence of the right to control is whether the hirer can discharge the

                                  17   worker without cause, because ‘[t]he power of the principal to terminate the services of the agent

                                  18   gives him the means of controlling the agent’s activities.”); Borello, 48 Cal. 3d at 350 (“Strong

                                  19   evidence in support of an employment relationship is the right to discharge, at will, without

                                  20   cause.”); Alexander, 765 F.3d at 988 (“The right to terminate at will, without cause, is strong

                                  21   support of an employment relationship.”); Narayan v. EGL, Inc., 616 F.3d 895, 900 (9th Cir.

                                  22   2010) (stating that under California law the right to discharge at will is the most important factor).

                                  23          Grubhub contends that this factor does not weigh in favor of an employment relationship

                                  24   because the at-will termination right was mutual: Grubhub could terminate the Agreement with 14

                                  25   days’ notice and Mr. Lawson could do so the same. In fact, since Mr. Lawson was not required to

                                  26   sign up for any blocks at all, he could in effect terminate the Agreement at any time without notice

                                  27   by simply not signing up for any blocks. As support for its position, Grubhub cites Jones v. Royal

                                  28   Admin. Servs., Inc., 866 F.3d 1100 (9th Cir. 2017). There, in a case involving vicarious liability
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                                   1   under a federal statute, the Ninth Circuit held that a mutual termination provision with 30 days’

                                   2   notice and a one-year term was consistent with an independent contractor relationship because

                                   3   “[t]he designated impermanency of the relationship supports a finding of independent contractor

                                   4   status.” Id. at 1107. Jones, however, was not addressing the right-to-control under California’s

                                   5   Borello test and is thus inapposite.

                                   6          The Court is also not persuaded that Beaumont-Jacques v. Farmers Group, Inc., 217 Cal.

                                   7   App. 4th 1138 (2013) dictates that a mutual at-will termination provision weighs against an

                                   8   employer/employee relationship. The Beaumont-Jacques court appeared influenced by the fact

                                   9   that the cases suggesting otherwise were in the workers compensation area, a distinction that is no

                                  10   longer viable. See Linton, 15 Cal. App. 5th at 1219. In any event, in the end, the court decided

                                  11   that even if the at-will termination provision was consistent with an employment relationship,

                                  12   weighing all the factors established that the plaintiff was an independent contractor. Id. at 1147;
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                                  13   see also Hennighan v. Insphere Ins. Sols., Inc., 38 F. Supp. 3d 1083, 1105 (N.D. Cal. 2014) (citing

                                  14   Beaumont-Jacques for the proposition that a mutual termination clause evidences an independent-

                                  15   contractor relationship) aff’d, 650 F. App’x 500 (9th Cir. 2016). Further, Beaumont-Jacques was

                                  16   decided before the California Supreme Court’s decision in Ayala.

                                  17          The question, then, is how much Grubhub’s right to terminate at will on 14 days’ notice

                                  18   gave it control over the manner and means of Mr. Lawson’s work. In some circumstances, that

                                  19   termination right will be powerful. In Estrada v. FedEx Ground Package System, Inc., 154 Cal.

                                  20   App. 4th 1 (2007), for example, the drivers had to make the considerable investment of buying

                                  21   FedEx approved trucks and scanners. The drivers worked full time. FedEx supervised the drivers

                                  22   and could control their routes and schedules and thus their income. And the drivers worked

                                  23   exclusively for FedEx. Id. at 12. Under these circumstances, FedEx exercised tremendous control

                                  24   through its right to terminate at will (or, in that case, not renew) given that the driver would have

                                  25   made this large financial and time commitment. The driver would need to protect his investment

                                  26   and livelihood and thus would accede to whatever FedEx wanted to avoid termination.

                                  27          For Mr. Lawson, not so much. He waited two months after he contracted with Grubhub to

                                  28   even start delivering meals. He delivered for other companies during the four months he delivered
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                                   1   for Grubhub, sometimes at the same time he was on block for Grubhub. He worked only when he

                                   2   wanted so that he could pursue his acting career, and generally less than 20 hours a week. He did

                                   3   not have to purchase any special equipment or tools to perform the work; all he needed was a cell

                                   4   phone and a mode of transportation which he already had. He did not even have to invest in a

                                   5   uniform or insulated bags. In these circumstances, Grubhub’s right to terminate at will is neutral

                                   6   in the right to control analysis.

                                   7                                                    ***

                                   8           The Court thus concludes that the right to control factor weighs strongly in favor of finding

                                   9   that Mr. Lawson was an independent contractor. The cases in which courts have found that

                                  10   delivery drivers were employees based on the right to control the driver’s work all evidenced

                                  11   significantly more hirer control. In Alexander, for example, FedEx controlled the drivers’

                                  12   appearance, route, schedule, and even what truck they could drive. Grubhub controls none of
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                                  13   those details. Ruiz was similar to Alexander. Affinity, the putative employer, controlled the

                                  14   drivers’ schedules, routes, equipment, including delivery vehicles, and even “every exquisite

                                  15   detail” of the drivers’ appearance. 754 F.3d at 1101-02. Similarly, in Flores v. Velocity Express,

                                  16   LLC, 250 F.Supp.3d 468 (N.D. Cal. 2017), Velocity, the putative employer, designed particular

                                  17   delivery routes, determined what the routes would pay, and then hired drivers for particular routes.

                                  18   Id. at 472. It required the drivers to wear a Velocity uniform and badge, and to display certain

                                  19   signage. The drivers had to report to Velocity’s warehouse each day, and Velocity dictated what

                                  20   packages the drivers delivered and by what time. And the drivers were required to follow

                                  21   Velocity’s standard operating procedures. Id. at 472-73. Grubhub controlled none of those details

                                  22   as to Mr. Lawson’s work.

                                  23           In Villapando v. Excel Direct Inc., 2015 WL 5179486 (N.D. Cal. Sep. 3, 2015), the

                                  24   putative employer determined what deliveries the driver had to make and in what time window,

                                  25   required drivers to attend a daily morning meeting, to work five to six days a week for between 10

                                  26   and 12 hours per day, and the drivers had to speak to a manager before taking a day off. The

                                  27   employer also controlled the drivers’ appearance as well as that of their vehicles. Id. at *46; see

                                  28   also Garcia v. Season Logix, Inc., 238 Cal. App. 4th 1476, 1485 (2015) (the putative employer
                                                                                         25
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                                   1   required the plaintiffs to report to a warehouse for a meeting every morning, receive permission to

                                   2   take time off, determined what deliveries the driver would make; drivers could only use their truck

                                   3   for work for the putative employer, and they were not allowed to make deliveries for others).

                                   4   Again, Grubhub controlled none of those manner or means of Mr. Lawson’s work.

                                   5   B.     The Borello Secondary Factors

                                   6          That the right to control the manner and means of Mr. Lawson’s work weighs in favor of

                                   7   finding that Grubhub properly classified Mr. Lawson as an independent contractor is not the end

                                   8   of the Court’s inquiry; the Court must also consider the Borello secondary factors.

                                   9          1.        Distinct Occupation or Business

                                  10          This factor weighs in favor of an employment rather than independent contractor

                                  11   relationship. Mr. Lawson was not engaged in a distinct occupation or business. He did not run a

                                  12   delivery business of which Grubhub was simply one client. See Jones, 866 F.3d at 1107 (when a
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                                  13   worker “ha[s] many different clients and offer[s] [the same] services to others during the same

                                  14   period,” those facts are consistent with an independent contractor relationship) (internal quotation

                                  15   marks and citation omitted). He did not get to decide how much Grubhub paid him or how much

                                  16   Grubhub’s customers paid for his delivery services. Instead, Mr. Lawson worked multiple low-

                                  17   wage jobs in addition to his nascent acting career.

                                  18          Mr. Lawson’s identification of himself on his tax return as “self-employed” does not

                                  19   persuade the Court otherwise. Given that Grubhub and the other “gig economy” companies for

                                  20   whom he performed services classified him as an independent contractor that is what he had to put

                                  21   on his return.

                                  22          2.        Whether the Work is Performed Under the Principal’s Direction or

                                  23                    Supervision

                                  24          This factor is similar to the right-to-control work details analysis, thus it favors an

                                  25   independent contractor finding. See Alexander, 765 F.3d at 995 (this factor slightly favored the

                                  26   drivers because FedEx closely supervised their work through various methods); Ruiz, 754 F.3d at

                                  27   1104 (same). Mr. Lawson did not have a supervisor. He did not report to anyone at Grubhub;

                                  28   indeed, he never met in person with anyone at Grubhub. Grubhub did not supervise Mr. Lawson’s
                                                                                         26
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                                   1   work in nearly any respect other than eventually terminating him after he did not perform

                                   2   deliveries when he said he would but was nonetheless paid as if he had.

                                   3           3.      The Skill Required in the Occupation

                                   4           This factor favors an employment relationship as anyone with a means of delivery can

                                   5   contract to deliver for Grubhub—no special skills are needed. See Alexander, 765 F.3d at 995

                                   6   (holding that this factor favored an employment finding as the “FedEx drivers need no experience

                                   7   to get the job in the first place and [the] only required skill is the ability to drive.”) (internal

                                   8   quotation marks and citation omitted).

                                   9           4.      The Provision of Tools and Equipment

                                  10           This factor favors an independent contractor finding as Mr. Lawson provided his own

                                  11   mode of transportation, his own smart phone, and could even provide his own insulated food bags.

                                  12   Indeed, Grubhub does not provide, finance nor require any specific equipment or tools. Compare
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                                  13   with Alexander, 765 F.3d at 995 (finding that this factor slightly favored FedEx even though

                                  14   FedEx was involved in the truck purchasing process, providing funds and recommending

                                  15   vendors); Linton, 15 Cal. App. 5th at 1229 (this factor favored the plaintiff taxi driver where the

                                  16   defendant provided the cab and tools to collect the fares).

                                  17           5.      Length of Time for Performance of Services

                                  18           This factor favors an independent contractor finding. Mr. Lawson made deliveries for

                                  19   Grubhub for four months and only on approximately half the days during those months, most days

                                  20   for blocks of four hours or less. The Agreement had a 60-day term, and while it automatically

                                  21   renewed, Mr. Lawson was free to stop making deliveries at any time. Further, the Agreement

                                  22   itself classified each block as a separate contractual engagement and explicitly stated that it was

                                  23   not an uninterrupted service arrangement. While such classification was designed to strengthen

                                  24   Grubhub’s independent contractor argument and thus is not overly persuasive, it is evidence that

                                  25   Grubhub did not count on its relationship with its drivers being permanent. This lack of

                                  26   permanence is reflected in the arrangement’s design; Mr. Lawson could sign up for blocks when

                                  27   he wanted and not sign up when he did not want to deliver, without any penalty of any kind.

                                  28   Grubhub had no expectation that Mr. Lawson would register for any particular block on any given
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                                   1   day. And there is nothing in the record that suggests Mr. Lawson’s short-lived engagement,

                                   2   although involuntarily terminated, was unique in its minimal length.

                                   3          6.      The Method of Payment

                                   4          This factor weighs slightly in favor of an employment relationship. Grubhub insists that

                                   5   this factor favors an independent contractor relationship because it paid Mr. Lawson per delivery.

                                   6   But while in theory it did so, in practice it paid him by the hour. Specifically, provided he

                                   7   accepted and delivered at least 75% (and later 85%) of the deliveries offered to him during a

                                   8   scheduled block, Grubhub paid him a minimum hourly rate. Only one time during the four

                                   9   months Mr. Lawson delivered for Grubhub was Mr. Lawson paid per delivery. This may have

                                  10   occurred, in part, because due to his fraud Mr. Lawson was offered (and therefore made) few

                                  11   deliveries and thus the per delivery compensation for him was never greater than the true up.

                                  12          As Grubhub emphasizes, however, its implementation of the true up guaranteed minimum
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                                  13   actually illustrates its lack of control over drivers such as Mr. Lawson. Grubhub provided the

                                  14   guaranteed minimum to incentivize Mr. Lawson and other contracted drivers to deliver because it

                                  15   did not have the right to require Mr. Lawson to make any particular delivery or any deliveries at

                                  16   any given time or ever. An employer, on the other hand, could require an employee to perform all

                                  17   deliveries during an assigned shift.

                                  18          Nonetheless, this factor still weighs slightly in favor of an employment relationship

                                  19   because on all but one occasion when Mr. Lawson did not satisfy the delivery percentage for the

                                  20   true up, Grubhub paid him minimum wage rather than what he would have been entitled to on a

                                  21   fee-per-delivery basis. While Grubhub no doubt paid Mr. Lawson (and presumably) other drivers

                                  22   the minimum wage as a hedge against a possible subsequent court ruling that the drivers are

                                  23   employees, that excuse does not mean this factor favors Grubhub. Grubhub, in practice, paid Mr.

                                  24   Lawson as an hourly employee.

                                  25          7.      Whether the Work is Part of Grubhub’s Regular Business

                                  26          This factor favors an employment relationship. Grubhub is an internet restaurant ordering

                                  27   platform that connects diners with participating restaurants. Diners can pick up their orders, have

                                  28   them delivered by those restaurants that offer delivery, or, in some Grubhub markets, have
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                                   1   Grubhub deliver the food. While Grubhub did not offer any food delivery for 10 years, at the time

                                   2   Mr. Lawson drove for Grubhub food delivery was part of Grubhub’s regular business in Los

                                   3   Angeles; indeed, more diners had Grubhub deliver their food than picked it up themselves. While

                                   4   food delivery is not Grubhub’s only or primary business (as was package delivery in the FedEx or

                                   5   courier cases, see, e.g., Alexander, 765 F.3d at 996), it is a regular part of its business in Los

                                   6   Angeles. Indeed, offering delivery services is key to Grubhub’s continued growth in urban

                                   7   markets such as Los Angeles.

                                   8          The cases Grubhub cites illustrate why this factor favors an employee finding. In Futrell v.

                                   9   Payday Cal., Inc., 190 Cal. App. 4th 1419 (2010), the plaintiff was hired to provide traffic and

                                  10   crowd control by a company that produces commercials. The plaintiff argued that the company

                                  11   hired by the commercial producer to provide payroll services was his employer. The court held

                                  12   that traffic and crowd control was not part of the payroll company’s regular business; the payroll
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                                  13   company had no control over what the workers for whom it was providing payroll services do and

                                  14   no expertise in the area. Here, in contrast, Grubhub deliberately entered the food delivery business

                                  15   in certain urban markets. It developed an entire mobile app and algorithm and created entire

                                  16   company departments to facilitate Grubhub’s delivery services. The payroll company, in contrast,

                                  17   did not provide traffic and crowd control services. Similarly, in Lara v. Workers Comp. Appeals

                                  18   Bd., 182 Cal. App. 4th 393 (2010), the restaurant that hired the gardener to trim the bushes was not

                                  19   in the gardening business. Grubhub, in contrast, is in the business of online restaurant ordering

                                  20   and, in the Los Angeles market, of also providing food delivery for certain restaurants. Just

                                  21   because it is not the majority of its business does not mean it is not a regular part of its business in

                                  22   those markets where Grubhub offers delivery service.

                                  23          8.      The Parties’ Intent

                                  24          The parties’ intent is neutral in the Court’s analysis. Grubhub identifies the Agreement as

                                  25   strong evidence of the parties’ intent to create an independent contractor relationship. The

                                  26   Agreement expressly states that Mr. Lawson is an independent contractor, he acknowledges that

                                  27   he is, and he promises that he will advise Grubhub if he changes his mind. But the label placed by

                                  28   the parties on their relationship is not dispositive. See Alexander, 765 F.3d at 997. In the
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                                   1   circumstances here—where the hirer unilaterally determines the contract’s terms for a low wage,

                                   2   low-skilled job—the parties’ label warrants little weight. See Linton, 15 Cal. App. 5th at 1222.

                                   3   Mr. Lawson had to check the box stating that he understood he was an independent contractor if

                                   4   he wanted to drive for Grubhub; Grubhub offers no evidence that it would have hired him

                                   5   regardless.

                                   6          Grubhub also makes much of the evidence that Mr. Lawson contacted Plaintiff’s counsel

                                   7   regarding a lawsuit before he ever joined Grubhub. But even if he signed up with Grubhub

                                   8   believing that he was improperly classified (as he alleged in a complaint shortly thereafter), that

                                   9   just means he did not intend to create an independent contractor relationship.

                                  10   C.     The Upshot

                                  11          The Borello factors “cannot be applied mechanically as separate tests; they are intertwined

                                  12   and their weight depends often on particular combinations.” Alexander, 765 F.3d at 989 (internal
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                                  13   quotation marks and citation omitted). Here, some secondary factors favor an employee/employer

                                  14   relationship: namely, Mr. Lawson’s delivery work was part of Grubhub’s regular business in Los

                                  15   Angeles; the work was low-skilled; Mr. Lawson was not engaged in a distinct delivery business of

                                  16   which Grubhub was just one client; and, slightly less, Grubhub’s method of payment. The other

                                  17   factors, however, favor a finding that Mr. Lawson was an independent contractor. See Varisco,

                                  18   166 Cal.App.4th at 1106 (explaining that because some factors suggest an employment

                                  19   relationship does not means that such a relationship necessarily exists). Of primary significance,

                                  20   Grubhub did not control the manner or means of Mr. Lawson’s work, including whether he

                                  21   worked at all or for how long or how often, or even whether he performed deliveries for

                                  22   Grubhub’s competitors at the same time he had agreed to deliver for Grubhub. Grubhub also did

                                  23   not provide Mr. Lawson with any of the tools for his work (other than a downloadable mobile app)

                                  24   and neither Grubhub nor Mr. Lawson contemplated the work to be long term or regular, but rather

                                  25   episodic at Mr. Lawson’s sole convenience. And while Grubhub had the right to terminate the

                                  26   Agreement at will upon 14 days’ notice, under the specific circumstances of this case, this right

                                  27   did not allow Grubhub to exert control over Mr. Lawson’s work. After considering all the facts,

                                  28   and the caselaw regarding the status of delivery drivers, the Court finds that all the factors
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                                   1   weighed and considered as a whole establish that Mr. Lawson was an independent contractor and

                                   2   not an employee.

                                   3          JKH Enterprises, 142 Cal. App. 4th 1046, which has facts similar to those the Court has

                                   4   found here, does not persuade the Court otherwise. There the putative employer provided courier

                                   5   services to Bay Area businesses such as law firms and title companies. The couriers picked up

                                   6   delivery items from regular customers and delivered them to the locations requested by the

                                   7   customers. The couriers regularly serviced the same route and were paid a negotiated hourly rate

                                   8   based on the particular route. Special drivers performed “special deliveries” requested by

                                   9   customers on a particular day. Each day the special driver called JKH to advise whether the driver

                                  10   wished to perform deliveries that day; if so, JKH provided the pickup and delivery information for

                                  11   the special deliveries. The special drivers, however, could decline to perform any particular

                                  12   delivery and were not required to work at all or on any particular schedule and they were paid
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                                  13   based on deliveries performed. Couriers and special drivers used their own vehicles to make

                                  14   deliveries, did not wear uniforms or other JKH markings, and could perform delivery services for

                                  15   other companies. If not enough drivers were available to work any particular day, JKH’s owner or

                                  16   his family members performed the needed deliveries. Id. at 1050-52.

                                  17          Upon a petition from some of the couriers, the California Department of Industrial

                                  18   Relations found that the couriers who provide the actual delivery services on JKH’s behalf were

                                  19   its employees rather than independent contractors and thus JKH failed to procure workers

                                  20   compensation insurance on their behalf. Id. at 1049. JKH petitioned for administrative

                                  21   mandamus. The appellate court concluded “[b]ased on the administrative record and the

                                  22   deferential standard of review” that JKH had not demonstrated that the Department had abused its

                                  23   discretion. Id.

                                  24          JKH is distinguishable. First, although the drivers to some extent set their own schedule,

                                  25   most of them worked regular routes and thus regular schedules. And, they worked regularly

                                  26   enough that if a driver decided not to work on a particular day, JKH’s owner could fulfill its

                                  27   delivery needs by delivering himself or having one of his family members deliver the packages.

                                  28   Thus, substantial evidence supported the Department’s decision that JKH had all “necessary”
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                                   1   control. Here, in contrast, Grubhub has to create delivery blocks with bonuses and other

                                   2   incentives to encourage drivers to make deliveries because it does not have all necessary control of

                                   3   the drivers’ work; in particular, it does not have control of when and whether they work. Mr.

                                   4   Lawson did not have a regular route, regular schedule or regular customers. Grubhub’s model is

                                   5   different: there are no regular delivery drivers.

                                   6          Second, JKH had previously classified the drivers as employees when using the identical

                                   7   work structure. JKH only changed the drivers’ classification to independent contractors after JKH

                                   8   was penalized for failing to provide workers compensation insurance; in other words, the

                                   9   Department found that JKH’s classification was an intentional subterfuge. Grubhub never

                                  10   classified the California drivers as employees.

                                  11          Third, many of JKH’s drivers not only drove regularly for JKH, but had done so for at least

                                  12   two years. The facts create an impression of a small group of delivery drivers that JKH could
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                                  13   regularly count on for deliveries. Not so here.

                                  14          Finally, the factor of over-riding importance to the Department was that providing

                                  15   deliveries was JKH’s only business—the drivers were not only critical to the business they were

                                  16   the business. It appears from the appellate court’s decision that in the Department’s view this

                                  17   factor overrode JKH’s lack of control of the manner and means of the drivers’ work. Here, in

                                  18   contrast, while delivery services are a regular part of Grubhub’s Los Angeles business, it is not

                                  19   Grubhub’s only or even primary service. Grubhub could exist without offering delivery services;

                                  20   indeed, for nearly a decade it did so, and even when Mr. Lawson delivered for Grubhub delivery

                                  21   was only offered in a few markets.

                                  22          The drivers in Air Couriers Intern. v. Employment Development Dept., 150 Cal. App. 4th

                                  23   923 (2007), as Mr. Lawson, were also not required to accept every job, were not penalized for

                                  24   rejecting a delivery, and were able to make deliveries for other companies. Further, drivers were

                                  25   paid by the job, used their own vehicles and were not required to wear a uniform. The trial court,

                                  26   and then the appellate court, found substantial evidence supported the Employment Development

                                  27   Department’s decision that the drivers were employees. The Air Couriers drivers, however,

                                  28   worked a regular schedule and thus the trial court found that the putative employer controlled the
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                                   1   hours the drivers worked. Id. at 937. Not so here. Further, many of the drivers delivered for the

                                   2   putative employer for years. Id. at 938. Again, not so here. And, as with JKH, the delivery

                                   3   service was the putative employer’s only business; without the drivers there was no business.

                                   4   Again, not so here.

                                   5                                            CONCLUSION

                                   6          Under California law whether an individual performing services for another is an employee

                                   7   or an independent contractor is an all-or-nothing proposition. If Mr. Lawson is an employee, he

                                   8   has rights to minimum wage, overtime, expense reimbursement and workers compensation

                                   9   benefits. If he is not, he gets none. With the advent of the gig economy, and the creation of a low

                                  10   wage workforce performing low skill but highly flexible episodic jobs, the legislature may want to

                                  11   address this stark dichotomy. In the meantime the Court must answer the question one way or the

                                  12   other. Based on what the Court observed at trial and the facts found, and after applying the
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                                  13   Borello test, the Court finds that during the four months Mr. Lawson performed delivery services

                                  14   for Grubhub he was an independent contractor. Since he was not an employee, he cannot prevail

                                  15   on his individual Labor Code or PAGA claims. Accordingly, judgment must be entered in favor

                                  16   of Grubhub and against Mr. Lawson.

                                  17

                                  18          IT IS SO ORDERED.

                                  19   Dated: February 8, 2018

                                  20
                                                                                                   JACQUELINE SCOTT CORLEY
                                  21                                                               United States Magistrate Judge
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